     Case 3:19-cv-00764-X Document 142 Filed 08/22/19                         Page 1 of 4 PageID 3940


                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

    VEROBLUE FARMS USA, INC.,                          §
       Plaintiff                                       §
                                                       §
     v.                                                §           CIVIL ACTION NO. 3:19-CV-00764-L
                                                       §
    LESLIE A. WULF, ET AL.,                            §
       Defendants                                      §


                             JOINT SETTLEMENT STATUS REPORT

          Plaintiff, VeroBlue Farms USA, Inc. (“Plaintiff” or “VBF”), Defendants Leslie A. Wulf,

Bruce A. Hall, James Rea, and John (“Ted”) Rea (“Founder Defendants”), Defendant Keith Driver

(“Driver” and, together with the Founder Defendants, “Defendants”), and Third-Party Defendant

Norman McCowan (“McCowan”) have conferred and submit this Joint Settlement Status Report

pursuant to the Scheduling Order entered by the Court on June 14, 2019 (Dkt. 120).

          Plaintiff has engaged in some preliminary settlement discussions with Defendant Keith

Driver. Third-Party Defendant McCowan has not yet had any settlement discussions with the

Founder Defendants, who are the Third-Party Plaintiffs, as the third-party claims were recently

filed and briefing was just recently completed on Defendant McCowan’s 12(b)(6) Motion to

Dismiss Third-Party Claims [Dkt. 113] and Motion to Dismiss Third-Party Claims Pursuant to

the Texas Citizens Participation Act [Dkt. 114].1




1
  Third-Party Defendant Bjorn Thelander was served with process on August 6, 2019. [Dkt. No. 139] He has not yet
appeared in the case. Plaintiff takes no position regarding the propriety or sufficiency of the service on Mr.
Thelander. Founder Defendants are still in the process of serving the remaining third-party defendants, as they are
all located outside the U.S.


JOINT SETTLEMENT STATUS REPORT– PAGE 1
  Case 3:19-cv-00764-X Document 142 Filed 08/22/19                   Page 2 of 4 PageID 3941


       The parties should be in a better position to conduct meaningful settlement discussions

following the resolution of certain legal issues currently pending before the Court, including

VBF’s pending Motion for Leave to Amend its Amended Complaint [Dkt. 102], Third-Party

Defendant Norman McCowan’s Rule 12(b)(6) Motion to Dismiss Third-Party Claims [Dkt. 113]

and Motion to Dismiss Third-Party Claims Pursuant to the Texas Citizens Participation Act [Dkt.

114], and after the parties have conducted additional discovery.

       Furthermore, all parties agree that following the completion of this additional discovery,

a mediation with a magistrate judge sitting in this District would be useful to facilitate settlement

discussions among the parties. Founder Defendants suggest that any productive mediation will

require the presence of a representative from Alder Aqua, Ltd, as it is the sole and controlling

shareholder of VBF.       Plaintiff’s position is that an authorized VBF representative is the

appropriate attendee at mediation. The parties will commit to explore the possibility of settlement

as the case progresses.




JOINT SETTLEMENT STATUS REPORT– PAGE 2
  Case 3:19-cv-00764-X Document 142 Filed 08/22/19      Page 3 of 4 PageID 3942


DATED: August 22, 2019.                  Respectfully submitted,

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JOINT SETTLEMENT STATUS REPORT– PAGE 3
  Case 3:19-cv-00764-X Document 142 Filed 08/22/19              Page 4 of 4 PageID 3943


                               CERTIFICATE OF SERVICE

        The undersigned certifies that on August 22, 2019 this document was filed and served to
all counsel of record via the Court’s ECF system.


                                                   /s/ Jasmine Wynton
                                                   Jasmine Wynton




JOINT SETTLEMENT STATUS REPORT– PAGE 4
